                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                   Plaintiff,          §
                                       §
 v.                                    §        CASE NO. 7:20-CV-244
                                       §
 6.584 ACRES OF LAND, MORE OR          §
 LESS, SITUATE IN HIDALGO COUNTY, §
 STATE OF TEXAS; AND HEIRS OF §
 ROMULO CAVAZOS, ET AL AND HEIRS §
 OF RAUL CAVAZOS, ET AL.,              §
                    Defendants.        §
______________________________________________________________________________

                 JOINT STIPULATION FOR REVESTMENT AND
                  MOTION FOR ENTRY OF FINAL JUDGMENT
______________________________________________________________________________

       Plaintiff, the United States of America, and Defendants, Eloisa Rosa Cavazos, Jose C.

Anzaldua, Jr., Aurora A. Garcia, Norma A. Anzaldua, Maria Elena Ovalle, Yolanda Martinez,

Delia A. Mendoza, Betty Anzaldua, Rebecca Serrano, Patrick Anzaldua, Ronald R. Anzaldua,

Ernesto Flores, Jr., Imelda Flores Gonzalez, Elvira Flores Deanda, Jorge Flores, Robert E. Flores,

Jr., Emma Catherine Flores, Joseph Flores, Dora Flores, Victoria M. Flores, Natalie Flores-Henley,

Pablo “Paul” Villarreal, Jr. as the Hidalgo County Tax Assessor/Collector, and Janette Cavazos

(Power of Attorney for Defendants: Humberto Cavazos, Rogerio Cavazos, Jr., Maria Rosario

Cavazos, Bertha Oralia Cavazos, Ruben Cavazos, Gloria Dalia Guerra, Pablo Servando Guerra,

Juan Lino Guerra, Gloria Diana Sauceda, Jaime Cavazos, Michelle Alejandro, Angie Marin, Keila

Cavazos, Ariana Pitalua, Rebecca Hernandez, Paula Gonzalez, Melissa Salazar, Maribel Cavazos,

Melinda Cavazos, and Ruben Cavazos) (collectively hereafter “Defendants”), do hereby stipulate




                                            Page 1 of 7
to the revestment of Tract RGV-MCS-2119 as described in Schedules “C”, “D”, and “E” of the

Declaration of Taking.1 The parties further stipulate and agree as follows:

A.       Background

         1.         On August 27, 2020, the United States of America (“United States”) filed a

Declaration of Taking and Complaint in Condemnation to acquire 6.584 acres in fee simple

identified as Tract RGV-MCS-2119.2

         2.         On September 4, 2020, the United States deposited three hundred forty-seven

thousand eight hundred eighty-seven dollars and 00/100 ($347,887.00) into the Registry of the

Court as estimated just compensation for Tract RGV-MCS-2119.3

         3.         Pursuant to 40 U.S.C. § 3114(b)(1), upon deposit of the estimated just

compensation, title to Tract RGV-MCS-2119 vested in the name of the United States by operation

of law on September 4, 2020.4

         4.         The United States obtained possession of Tract RGV-MCS-2119 on April 12,

2021.5

B.       Stipulation of Revestment

         5.         Pursuant to 40 U.S.C. § 3117, the United States may agree or stipulate to the

revestment of condemned property to resolve condemnation cases.

         6.         The United States and Defendants jointly stipulate and agree that all right, title,



1
  Dkt. No. 2.
2
  Dkt. Nos. 2 & 1, respectively.
3
  Dkt. No. 10.
4
  Upon the filing of the Declaration of Taking and depositing the estimated compensation in the Registry of the
Court, the following events occur by operation of law: “(1) title to the estate or interest specified in the declaration
vests in the Government; (2) the land is condemned and taken for the use of the Government; and (3) the right to just
compensation for the land vests in the persons entitled to the compensation.” 40 U.S.C. § 3114(b); see E. Tennessee
Nat. Gas. Co. v. Sage, 361 F.3d 808, 825 (4th Cir. 2004) (in a Declaration of Taking Act case, “[t]itle and the right
to possession vest in the government immediately upon the filing of a declaration and the requisite deposit.”).
5
  Dkt No. 59.



                                                      Page 2 of 7
and interests acquired by the United States associated with or appurtenant to Tract RGV-MCS-

2119 are hereby REVESTED back to Defendants with all title and rights as existed immediately

before the filing of the Declaration of Taking and vesting of title in the United States.

           7.         Defendants hereby agree to accept such REVESTMENT of Tract RGV-MCS-

2119.

           8.         The legal description and survey of Tract RGV-MCS-2119 that is being

REVESTED to Defendants are found in Schedule “C” and “D” of the Declaration of Taking6 and

attached hereto as Exhibits 1 and 2.

C.         Stipulation of Regarding Just Compensation Funds and Motion for Final Judgment

           9.         The Parties further make a stipulation as to the just compensation owed for the

time the United States held title (and possession) as to Tract RGV-MCS-2119, and move for final

judgment and termination of this case as follows:

                  A. United States and Defendants confirm and agree that the full and just
                     compensation payable by the United States for the time that United States held
                     title and possession as to Tract RGV-MCS-2119 is the sum of five hundred and
                     00/100 dollars ($500.00). This sum is all-inclusive and in full satisfaction of any
                     claims of whatsoever nature by Defendants against the United States for the
                     institution and prosecution of the above-captioned action. Defendants further
                     agree to waive any and all claims for additional compensation of any nature against
                     the United States arising from the United States’ acquisition of Tract RGV-MCS-
                     2119.

                  B. The Parties now respectfully request that judgment be entered against the United
                     States in the amount of five hundred and 00/100 dollars ($500.00) for the time the
                     United States held title (and possession) as to Tract RGV-MCS-2119.

                  C. Upon the Court’s Order entering final judgment in accordance with the instant
                     stipulation of revestment, the Parties seek immediate distribution of the total sum
                     on deposit as follows:




6
    Dkt. No. 2.



                                                  Page 3 of 7
         i.   The sum of $500.00, along with any accrued interest earned thereon while
              on deposit, payable as follows:

               $256.00 payable to the order of Eloisa Rosa Cavazos

               $6.10 payable to the order of:
                 Jose C. Anzaldua, Jr.                    Humberto Cavazos
                 Aurora A. Garcia                         Rogerio Cavazos, Jr.
                 Norma A. Anzaldua                        Maria Rosario Cavazos
                 Maria Elena Ovalle                       Bertha Oralia Cavazos
                 Yolanda Martinez                         Ruben Cavazos
                 Delia A. Mendoza                         Gloria Dalia Guerra
                 Betty Anzaldua                           Pablo Servando Guerra
                 Rebecca Serrano                          Juan Lino Guerra
                 Patrick Anzaldua                         Gloria Diana Sauceda
                 Ronald R. Anzaldua                       Jaime Cavazos
                 Ernesto Flores, Jr.                      Michelle Alejandro
                 Imelda Flores Gonzalez                   Angie Marin
                 Elvira Flores Deanda                     Keila Cavazos
                 Jorge Flores                             Ariana Pitalua
                 Robert E. Flores, Jr.                    Rebecca Hernandez
                 Emma Catherine Flores                    Paula Gonzalez
                 Joseph Flores                            Melissa Salazar
                 Dora Flores                              Maribel Cavazos
                 Victoria M. Flores                       Melinda Cavazos
                 Natalie Flores-Henley                    Ruben Cavazos

       ii.     The remaining sum of $347,387.00, with accrued interest, payable to the
               order of “F&A Officer, USAED, Fort Worth,” with the check referencing
               “Tract RGV-MCS-2119.”

               The current Finance and Accounting (F&A) Officer for the U.S. Army
                Engineer District, Fort Worth is:

                      Charanne Marshall
                      Finance and Accounting Officer
                      U.S. Army Corps of Engineers, Fort Worth District
                      P.O. Box 17300
                      Room 3A37
                      Fort Worth, Texas 76102

            D. Defendants warrant they were the sole owners of the interest in the property
taken in this proceeding on the respective date of taking.

          E. In the event the event any other party is ultimately determined by a court of
competent jurisdiction to have any right to receive compensation for the interests in the



                                    Page 4 of 7
 property taken in this proceeding, Defendants shall refund into the Registry of the Court
 the compensation distributed herein, or such part thereof as the Court may direct, with
 interest thereon at an annual rate provided in 40 U.S.C. § 3116 from the date of receipt of
 the respective deposit by Defendants, to the date of repayment into the Registry of the
 Court.
             F. The Parties shall be responsible for their own legal fees, costs, and expenses,
 including attorneys’ fees, consultants’ fees, and any other expenses or costs.

            G. The Parties shall take no appeal from any rulings or judgment made by the
 Court in this action, and the parties’ consent to the entry of all motions, orders, and
 judgments necessary to effectuate this stipulation.

            H. This joint stipulation and motion is binding on the heirs, trustees, executors,
 administrators, devisees, successors, assigns, agents, and representatives of Defendants.

             I. The Parties request that the Court enter an Order of Final Judgment
 reflecting this Stipulation and closing this case.


                                                Respectfully submitted,
BY:
                                                JENNIFER B. LOWERY
                                                Acting United States Attorney
_/s/ Erin D. Thorn__________                    Southern District of Texas
ERIN D. THORN
Texas Civil Rights Project
State Bar No. 24093261                          /s/ Megan Eyes
SDTX Bar No. 2744303                            MEGAN EYES
Texas Civil Rights Project                      Assistant United States Attorney
1017 W. Hackberry Ave.                          Southern District of Texas No. 3135118
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Tel: (956) 787-8171 ext. 127                    600 E. Harrison St, Suite 201
erin@texascivilrightsproject.org                Brownsville, TX 78520-5106
Attorney-in-Charge for Defendant Eloisa         Telephone: (956) 548-2554
Rosa Cavazos                                    Facsimile: (956) 548-2711
                                                E-mail: Megan.Eyes@usdoj.gov
_/s/ Ricardo A. Garza________                   Attorney in Charge for the United States
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Cavazos

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Jose C. Anzaldua, Jr.                  Emma Catherine Flores


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                                       Joseph Flores

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                                       Natalie Flores-Henley
  /s/ Betty Anzaldua
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  /s/ Rebecca Serrano
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Rebecca Serrano                                    Power of Attorney for Defendants:
                                                   Humberto Cavazos, Rogerio Cavazos,
/s/ Patrick Anzaldua (with permission)             Jr., Maria Rosario Cavazos, Bertha
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                                     Page 6 of 7
         ablo " Paul" illarreal, J r.
         idalgo County Tax Assessor I Collector
                                                        ~·
                                CERTIFICATE OF SERVICE

                30th 2021 , I filed the foregoing document with the clerk of court for the
       On November_,

U.S. Distri ct Court, Southern District of Texas. I hereby certify that I have served the docwnent

on all counsel and pro se parties of record by a manner authorized by Federal Rules of Civil

Procedure 5 (b)(2).



                                             By:    Isl .Megati ~
                                                    MEGAN EYES
                                                    Assistant United States Attorney




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